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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION


KEVIN MICHAEL WOOD,


                               Plaintiff,
vs.
                                                CASE NO.:
EQUIFAX INFORMATION
SERVICES LLC, EXPERIAN                          JURY TRIAL
INFORMATION SOLUTIONS, INC.,                    DEMANDED
TRANS UNION, LLC, and
DEPARTMENT STORES NATIONAL
BANK,


                            Defendants.



                                  COMPLAINT

      Kevin Michael Wood (“Plaintiff”) brings this Complaint against Equifax

Information Services LLC (“Equifax”), Experian Information Solutions, Inc.

(“Experian”), Trans Union, LLC (“Trans Union”) and Department Stores National

Bank (DSNB) (collectively “Defendants”) for actual, statutory, and punitive

damages, costs, and attorney's fees, for violations of the Fair Credit Reporting Act



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(“FCRA”), 15 U.S.C. § 1681 et seq., arising out of the credit bureau Defendants’

reporting inaccurate credit account information.

                            PRELIMINARY STATEMENT

      1.     The computerization of our society has resulted in a revolutionary

increase in the accumulation and processing of data concerning individual citizens.

Data technology, whether it be used by businesses, banks, the Internal Revenue

Service or other institutions, allows information concerning individuals to flow

immediately to requesting parties. Such timely information is intended to lead to

faster and better decision-making by its recipients, and all of society should benefit

from the resulting convenience and efficiency.

      2.     Unfortunately, however, this information has also become readily

available for and subject to mishandling and misuse. Individuals can sustain

substantial damage, both emotionally and economically, whenever inaccurate

information or fraudulent information is disseminated about them.

      3.     The ongoing technological advances in the area of data processing have

resulted in a boon for the companies that accumulate and sell data concerning

individuals' credit histories and other personal information. Such companies are

commonly known as consumer reporting agencies (“CRAs”).




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        4.    Theses CRAs sell to readily paying subscribers (i.e., retailers,

landlords, lenders, automobile dealers, potential employers, and other similar

interested parties) information commonly called “consumer reports,” concerning

individuals who may be applying for retail credit, to lease an apartment, to obtain a

mortgage, auto loan, employment, or the like.

        5.    “Credit is the lifeblood of the modern American economy, and for the

American consumer access to credit has become inextricably tied to consumer credit

scores as reported by credit reporting agencies.” Burke v. Experian Info. Sols., Inc.,

2011 WL 1085874, at *1 (E.D. Va. Mar. 18, 2011).

        6.    Congress made the following findings when it enacted the FCRA in

1970:

        1) The banking system is dependent upon fair and accurate credit reporting.
           Inaccurate credit reports directly impair the efficiency of the banking
           system, and unfair credit reporting methods undermine the public
           confidence which is essential to the continued functioning of the banking
           system.

        2) An elaborate mechanism has been developed for investigating and
           evaluating the credit worthiness, credit standing, credit capacity, character,
           and general reputation of consumers.

        3) Consumer reporting agencies have assumed a vital role in assembling and
           evaluation consumer credit and other information on consumers.

        4) There is a need to ensure that consumer reporting agencies exercise their
           grave responsibilities with fairness, impartiality, and a respect for the
           consumer's right to privacy.
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15 U.S.C. § 1681(a)(1-4). Thus, one of the fundamental purposes of the FCRA is “to

require that consumer reporting agencies adopt reasonable procedures for meeting

the needs of commerce for consumer credit, personnel, insurance, and other

information in a manner which is fair and equitable to the consumer, with regard to

the confidentiality, accuracy, relevancy, and proper utilization of such information

in accordance with the requirements of this subchapter.” 15 U.S.C. § 1681(b).

Accordingly, “[t]he FCRA evinces Congress' intent that consumer reporting

agencies, having the opportunity to reap profits through the collection and

dissemination of credit information, bear 'grave responsibilities'”. Cushman v. Trans

Union, 115 F.3d 220, 225 (3d Cir. 1997).

      7.     Since 1970, when Congress enacted the Fair Credit Reporting Act, as

amended, 15 U.S.C. § 1681 et seq. (“FCRA”), federal law has required CRAs to

have in place and to utilize reasonable procedures “to assure the maximum possible

accuracy” of the personal and financial information that they compile and sell about

individual consumers.


      8.     Plaintiff’s claims arise out of the credit bureau defendants’ blatantly

inaccurate credit reporting, wherein Defendants Equifax, Experian, and Trans Union

reported an inaccurate balance on a credit account. After Plaintiff’s multiple disputes


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of the credit bureau defendants’ inaccurate reporting, Defendant Department Stores

National Bank verified the account balance and continued to report the same to the

credit bureau defendants.


      9.     Accordingly, Plaintiff brings claims against Defendants Equifax,

Experian, and Trans Union for failing to follow reasonable procedures to assure the

maximum possible accuracy of Plaintiff’s credit reports, in violation of the FCRA,

15 U.S.C. § 1681e(b), and failing to conduct a reasonable reinvestigation to

determine whether information Plaintiff disputed was inaccurate and record the

current status of the disputed information, or delete the disputed information from

Plaintiff’s credit file, in violation of the FCRA, 15 U.S.C. § 1681i.


      10.    Plaintiff also brings a claim against Defendant Department Stores

National Bank for failing to fully and properly reinvestigate Plaintiff’s disputes and

review all relevant information provided by Plaintiff and the credit bureau

defendants, in violation of the FCRA, 15 U.S.C. § 1681s-2(b)(1).


      This action seeks actual, statutory, and punitive damages, costs and attorneys’

      fees for Plaintiff against Defendants for their willful and/or negligent

      violations of the Fair Credit Reporting Act, 15 U.S.C. § 1681 et seq., as

      described herein.

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                                      THE PARTIES

      11.    Plaintiff Kevin Michael Wood (“Plaintiff”) is a natural person who

resides in the State of Georgia, and is a “consumer” as that term is defined in 15

U.S.C. § 1681a(c).

      12.    Defendant Equifax Information Services, LLC (“Equifax”) is a limited

liability company and resides in the State of Georgia, including in this District.

      13.    Equifax is a “consumer reporting agency” as defined in 15 U.S.C. §

1681a(f). Equifax is regularly engaged in the business of assembling, evaluating,

and disseminating information concerning consumers for the purpose of furnishing

consumer reports, as defined in 15 U.S.C. § 1681a(d) to third parties.

      14.    Defendant Experian Information Solutions, Inc. (“Experian”) is a

limited liability company that is authorized to do business in the State of Georgia,

including in this District.

      15.    Experian is a “consumer reporting agency” as defined in 15 U.S.C. §

1681a(f). Experian is regularly engaged in the business of assembling, evaluating,

and disseminating information concerning consumers for the purpose of furnishing

consumer reports, as defined in 15 U.S.C. § 1681a(d) to third parties.




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       16.   Defendant Trans Union, LLC (“Trans Union”) is a limited liability

company that is authorized to do business in the State of Georgia, including in this

District.

       17.   Trans Union is a “consumer reporting agency” as defined in 15 U.S.C.

§ 1681a(f). Trans Union is regularly engaged in the business of assembling,

evaluating, and disseminating information concerning consumers for the purpose of

furnishing consumer reports, as defined in 15 U.S.C. § 1681a(d) to third parties.

       18.   Defendant Department Stores National Bank (“DSNB”) is a national

corporation with a principal place of business located at Sioux Falls, SD, and is

authorized to do business in the State of Georgia, including within this District.

       19.   Defendant DSNB is a credit grantor and “furnisher” of consumer

information, referenced in 15 U.S.C. § 1681s-2(b).

                             JURISDICTION AND VENUE

       20.   This Court has jurisdiction over Plaintiff's claims pursuant to 28 U.S.C.

§ 1331 and 15 U.S.C. § 1681p, which allows claims under the FCRA to be brought

in any appropriate court of competent jurisdiction.

       21.   Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(2)

because a substantial part of the events or omissions giving rise to the claims

occurred in this District.

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      22.    Plaintiff mailed multiple written disputes regarding inaccurate

information in his Equifax credit report to Equifax located in Fulton County; Atlanta,

Georgia.

      23.    Defendant Equifax received Plaintiff's multiple written disputes in

Fulton County; Atlanta, Georgia.

      24.    Upon receipt of Plaintiff's disputes, Defendant Equifax forwarded such

disputes to furnishers via Automated Consumer Dispute Verification electronic

forms. Upon completion of its investigations pursuant to 15 U.S.C. § 1681s-2(b), the

furnishers responded to Defendant Equifax's electronic communications, which

originated from Atlanta, Georgia, by sending its results electronically to Defendant

Equifax in Fulton County; Atlanta, Georgia

      25.    Defendant Equifax then processed the dispute results at its National

Consumer Assistance Center in Atlanta, Georgia, and mailed Plaintiff its final

dispute results from Atlanta, Georgia.

                                      FACTS

                   Summary of the Fair Credit Reporting Act

      26.    The FCRA governs the conduct of consumer reporting agencies in an

effort to preserve the integrity of the consumer banking system and to protect the




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rights of consumers to fairness and accuracy in the reporting of their credit

information.

      27.      The purpose of the FCRA is to require consumer reporting agencies to

“adopt reasonable procedures for meeting the needs of commerce for consumer

credit, personal, insurance, and other information in a manner which is fair and

equitable to the consumer, with regard to the confidentiality, accuracy, relevancy,

and proper utilization of such information….” 15 U.S.C. § 1681(b).

      28.      The FCRA further requires that when preparing consumer reports a

consumer reporting agency must follow “reasonable procedures to assure maximum

possible accuracy of the information concerning the individual about whom the

report relates.” 15 U.S.C. § 1681e(b).

                  The Credit Bureau's Processing of Credit Information

      29.      Defendants Equifax, Experian, and Trans Union regularly receive

information from various sources around the country including banks, credit unions,

automobile dealers, student loan providers, public information vendors, and others.

      30.      These sources are known as “furnishers” within the credit reporting

industry and under the FCRA.

      31.      Defendants collect information from thousands of furnishers.




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      32.    The process by which Defendants receive, sort, and store information

is largely electronic.

      33.    Furnishers report credit information to Defendants through the use of

coded tapes that are transmitted on a monthly basis through software known as

Metro 2.

      34.    Defendants take the credit information reported by furnishers and

create consumer credit files.

      35.    Defendants maintain credit files on more than 200 million consumers.

      36.    Credit files are updated electronically by the furnishers to reflect new

information regarding the reported accounts (sometimes referred to within the

industry as “tradelines”).


    The Credit Bureaus' Method for Considering Consumer Credit Report
                                 Disputes

      37.    The credit industry has constructed a method of numeric-alpha codes

for considering consumer credit report disputes. See 15 U.S.C. § 1681i(a)(5)(D).

      38.    Consumer reporting agencies Equifax, Experian, Trans Union, and

Innovis have thus created the Online Solution for Complete and Accurate Reporting,

or e-OSCAR, as the credit industries' standard of performance. e-OSCAR allows

data furnishers to create and respond to disputes initiated by consumers by routing

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credit reporting agency-created prompts for automated consumer dispute

verifications to the appropriate data furnishers. e-OSCAR utilizes a numeric-alpha

language specific to the credit reporting industry.

      39.    That lexicon or unique language is commonly referred to in the credit

reporting industry as “Metro II.” It is also known industry wide as the CDIA's

“Credit Reporting Resource Guide.”

      40.    Metro II is driven by numeric codes that translate into specific alpha

representations about consumers' creditworthiness and character that will ultimately

appear on credit reports issued to third parties who make credit, insurance, rental,

and employment decisions regarding consumers.

      41.    Metro II codes are used on an industry wide form known within the

credit industry as an Automated Consumer Dispute Verification (“ACDV”)

electronic form.

      42.    The ACDVs have many fields in their body for use in effecting

thorough and complete communications between data furnishers and the credit

reporting agencies.

      43.    These ACDV “fields” have various titles for the many substantive areas

into which the Metro II codes can be entered.




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      44.    Upon receiving a dispute from a consumer, the credit bureaus have an

automated system that prepares ACDVs that are sent to each of the data furnishers

that are reporting the credit accounts disputed by a consumer.

      45.    The data furnishers then have an obligation under the FCRA to conduct

a reasonable reinvestigation with respect to the disputed credit account and review

all relevant information provided by the consumer with the dispute to determine

whether the disputed credit account information is accurate and/or belongs to the

disputing consumer. See 15 U.S.C. § 1681s-2(b).

      46.    Once the data furnisher completes its reinvestigation, it will code the

ACDV accordingly, representing either that the disputed account was verified as

accurate and belonging to the disputing consumer, updating information related to

the account, or deleting the account entirely, and return the ACDV to the respective

credit bureau(s) via eOSCAR.


Plaintiff's August 25, 2021 Dispute with Equifax, Experian, and Trans Union

      47.    On or about August 25, 2021, Plaintiff filed written disputes regarding

the inaccurate balance reporting on the following account, because each were

reporting the incorrect balance:

             Macy’s/DSNB Tradeline, Partial Acct # #603534119203****


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              Inaccurate balance reported: Balance: $3,000

       48.    Plaintiff's August 25, 2021 dispute specifically included Plaintiff's full

name, date of birth, Social Security number, and current address, so that the credit

bureaus would be able to properly identify Plaintiff and locate Plaintiff's credit file.


   Equifax and Trans Union’s Responses to Plaintiff's August 2021 Dispute

       49.    Defendants temporarily updated the balance to the accurate amount.


             Experian’s Response to Plaintiff's August 2021 Dispute

       50.    Defendant did not respond to Plaintiff's August 2021 dispute.

       51.    Defendant did not indicate that Plaintiff's disputes were found to be

frivolous or irrelevant.

       52.    Defendant failed to conduct a reinvestigation of Plaintiff's dispute, in

violation of 15 U.S.C. § 1681i.

       53.    Thereafter, Defendant continued to report an inaccurate account

balance on Plaintiff's credit file.

       54.    Defendant failed to provide the requested credit disclosure in violation

of 15 U.S.C. § 1681g.


Inaccurate Account Reporting on Plaintiff's Credit File as of October 1, 2021



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        55.   Upon information and belief, as of October 1, 2021, Plaintiff's

Experian, Equifax, and Trans Union credit reports were reporting an inaccurate

balance on the following account:

              Account Name Macy's/DSNB
              Account Number 603534119203****
              Balance: $3,000

Plaintiff's October 26, 2021 Dispute with Equifax, Experian, and Trans Union

        56.   On or about October 26, 2021, Plaintiff filed written disputes regarding

the inaccurate balance reporting on the following account, because each were

reporting the incorrect balance:

              Macy’s/DSNB Tradeline, Partial Acct # #603534119203****

        57.   Plaintiff's October 26, 2021 disputes specifically included Plaintiff’s

full name, date of birth, Social Security number, and current address, so that the

credit bureaus would be able to properly identify Plaintiff and locate Plaintiff's credit

file.


 Equifax, Experian, and Trans Union’s Responses to Plaintiff's October 2021
                                 Dispute

        58.   Upon receiving Plaintiff’s disputes in October 2021, Equifax, Experian,

and Trans Union sent ACDVs to the following furnisher regarding the following

credit accounts Plaintiff disputed:

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              Macy’s/DSNB Tradeline, Partial Acct # 603534119203****

       59.    Macy’s/DSNB failed to do a reasonable investigation and verified for

Equifax, Experian, and Trans Union that Account #603534119203**** belongs to

Plaintiff and that the account balance is accurately reporting on his credit report in

violation of 15 U.S.C. § 1681s-2(b)(1).

       60.    Equifax, Experian, and Trans Union completed their reinvestigation of

Plaintiff’s dispute and returned the results of its 15 U.S.C. § 1681i dispute

reinvestigation to Plaintiff. Equifax, Experian, and Trans Union failed to properly

reinvestigate and correct the balance on the disputed credit account, which continued

to appear on Plaintiff’s credit reports.

       61.    Thereafter, Defendants continued to report an inaccurate account

balance on Plaintiff's credit file.


    Inaccurate Account Reporting on Plaintiff's Experian Credit File as of
                            December 1, 2021

       62.    Upon information and belief, as of December 1, 2021, Plaintiff's

Experian credit report was reporting an inaccurate balance on the following account:

              Account Name Macy's/DSNB
              Account Number 603534119203****
              Balance: $3,000



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Plaintiff's January 12, 2022 Dispute with Equifax, Experian, and Trans Union

       63.    On or about January 12, 2022, Plaintiff filed written disputes regarding

the inaccurate balance reporting on the following account, because each were

reporting the incorrect balance:

              Macy’s/DSNB Tradeline, Partial Acct # #603534119203****

       64.    Plaintiff's January 12, 2022 dispute specifically included Plaintiff's full

name, date of birth, Social Security number, and current address, so that the credit

bureaus would be able to properly identify Plaintiff and locate Plaintiff's credit file.


  Equifax, Experian, and Trans Union’s Responses to Plaintiff's January 12,
                               2022 Dispute

       65.    Defendants did not respond to Plaintiff's January 12, 2022 dispute.

       66.    Defendants did not indicate that Plaintiff's disputes were found to be

frivolous or irrelevant.

       67.    Defendants failed to conduct a reinvestigation of Plaintiff's dispute, in

violation of 15 U.S.C. § 1681i.

       68.    Thereafter, Defendants continued to report an inaccurate account

balance on Plaintiff's credit file.

       69.    Defendants failed to provide the requested credit disclosure in violation

of 15 U.S.C. § 1681g.

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  Inaccurate Account Reporting on Plaintiff's Credit File as of May, 29 2022

      70.   Upon information and belief, as of May, 29 2022, Plaintiff's Experian,

Equifax and Trans Union credit reports were reporting an inaccurate balance on the

following account:

            Account Name Macy's/DSNB
            Account Number 603534119203****
            Balance: $3,000


  Inaccurate Account Reporting on Plaintiff's Credit File as of May 5, 2023

      71.   Upon information and belief, as of May 5, 2023, Plaintiff's Experian,

Equifax, and Trans Union credit reports were reporting an inaccurate balance on the

following account:

            Account Name Macy's/DSNB
            Account Number 603534119203****
            Balance: $3,000

      72.   Within the two (2) years previous to the filing of this Complaint,

Defendants prepared and distributed one or more consumer reports, as that term is

defined by 15 U.S.C. § 1681a(d), pertaining to Plaintiff that contained misleading

and inaccurate information.

      73.   Defendants failed to maintain and follow reasonable procedures to

assure the maximum possible accuracy of the personal and credit account

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information contained within at least one of the credit files they maintain for

Plaintiff.

       74.   Defendants have failed to follow reasonable procedures to assure the

maximum possible accuracy of Plaintiff's credit files and of Plaintiff's consumer

reports, in violation of 15 U.S.C. § 1681e(b).

       75.   Defendants' failures to follow reasonable procedures to assure the

maximum possible accuracy of Plaintiff's credit files and of Plaintiff's consumer

reports was negligent and/or willful.


                             CLAIMS FOR RELIEF

                                   COUNT I
                              15 U.S.C. § 1681e(b)
    Failure to Follow Reasonable Procedures to Assure Maximum Possible
                                   Accuracy
                  (First Claim For Relief Against Defendants)

       76.   Plaintiff re-alleges and incorporates the allegations set forth in

Paragraphs 1-75 as if fully stated herein.

       77.   Defendants violated 15 U.S.C. § 1681e(b) by failing to establish or to

follow reasonable procedures to assure maximum possible accuracy in the

preparation of the credit reports and credit file they published and maintain

concerning Plaintiff.



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      78.    As a result of Defendants' conduct, action, and inaction, Plaintiff

suffered damage by loss of credit; loss of the ability to purchase and benefit from his

credit; detriment to his credit rating; the expenditure of time and money disputing

and trying to correct the inaccurate credit reporting; and emotional distress including

the mental and emotional pain, anguish, humiliation, and embarrassment of credit

denials and having inaccurate credit account information in his credit file.

      79.    Defendants' conduct, action, and inaction was willful, rendering them

each separately liable for actual or statutory damages, and punitive damages in an

amount to be determined by the Court pursuant to 15 U.S.C. § 1681n. In the

alternative, it was negligent, entitling Plaintiff to recover under 15 U.S.C. § 1681o.

      80.    Plaintiff is entitled to recover attorney's fees and costs from Defendants

in an amount to be determined by the Court pursuant to 15 U.S.C. § 1681n and/or

§ 1681o.

                                  COUNT II
                               15 U.S.C. § 1681i
               Failure to Perform a Reasonable Reinvestigation
        (Second Claim For Relief Against Defendants Equifax, Experian, and
                                   Trans Union)

      81.    Plaintiff re-alleges and incorporates the allegations set forth in

Paragraphs 1-75 as if fully stated herein.




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       82.    Defendants violated 15 U.S.C. § 1681i by failing to delete inaccurate

information in Plaintiff's credit file after it received multiple notices of such

inaccuracies; by failing to conduct a lawful reinvestigation on numerous occasions

of both disputed credit accounts and hard inquiries; and by failing to maintain

reasonable procedures with which to filter and verify disputed information in

Plaintiff's credit files.

       83.    As a result of Defendants' conduct, action, and inaction, Plaintiff

suffered damage by loss of credit; loss of the ability to purchase and benefit from his

credit; detriment to his credit rating; the expenditure of time and money disputing

and trying to correct the inaccurate credit reporting; and emotional distress including

the mental and emotional pain, anguish, humiliation, and embarrassment of credit

denials and having inaccurate credit account information in his credit file.

       84.    Defendants' conduct, action, and inaction was willful, rendering them

each separately liable for actual or statutory damages, and punitive damages in an

amount to be determined by the Court pursuant to 15 U.S.C. § 1681n. In the

alternative, it was negligent, entitling Plaintiff to recover under 15 U.S.C. § 1681o.

       85.    Plaintiff is entitled to recover attorney's fees and costs from Defendants

in an amount to be determined by the Court pursuant to 15 U.S.C. § 1681n and/or

§ 1681o.

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                                   COUNT III
                                15 U.S.C. § 1681g
                    Failure to Provide Disclosures to Plaintiff

      86.    Plaintiff re-alleges and incorporates the allegations set forth in

Paragraphs 1-75 as if fully stated herein.

      87.    Defendants violated 15 U.S.C. § 1681g by failing to provide Plaintiff's

credit disclosure after each request.

      88.    As a result of Defendants' conduct, action, and inaction, Plaintiff

suffered damage by loss of credit; loss of the ability to purchase and benefit from

Plaintiff's credit; detriment to Plaintiff's credit rating; the expenditure of time and

money disputing and trying to correct the inaccurate credit reporting; and emotional

distress including the mental and emotional pain, anguish, humiliation, and

embarrassment.

      89.    Defendants' conduct, action, and inaction was willful, rendering them

each separately liable for actual or statutory damages, and punitive damages in an

amount to be determined by the Court pursuant to 15 U.S.C. § 1681n. In the

alternative, it was negligent, entitling Plaintiff to recover under 15 U.S.C. § 1681o.

      90.    Plaintiff is entitled to recover attorney's fees and costs from Defendants

in an amount to be determined by the Court pursuant to 15 U.S.C. § 1681n and/or

§ 1681o.

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                                     COUNT III
                                15 U.S.C. § 1681s-2(b)
        Failure to Conduct an Investigation of the Disputed Information and
             Review all Relevant Information Provided by the Consumer
       (First Claim For Relief Against Defendant Department Stores National
                                        Bank)


      91.    Plaintiff re-alleges and incorporates the allegations set forth in

Paragraphs 1-75 as if fully stated herein.

      92.    Defendant Department Stores National Bank published the negative

entries to Defendants Experian, Equifax, and Trans Union.

      93.    Defendant Department Stores National Bank violated 15 U.S.C. §

1681s-2(b) by failing to fully and properly investigate Plaintiff’s disputes of its

inaccurate representations; by failing to review all relevant information regarding

the same; by failing to accurately respond to Defendants Experian, Equifax, and

Trans Union; by failing to correctly report results of an accurate investigation to

Defendants Experian, Equifax, and Trans Union; and by failing to permanently and

lawfully correct its own internals records to prevent the re-reporting of its inaccurate

representations to Defendants Experian, Equifax, and Trans Union.

      94.    As a result of Defendant Department Stores National Banks’ conduct,

action, and inaction, Plaintiff suffered damage by loss of credit; loss of the ability to

purchase and benefit from his good credit; detriment to his credit rating; the

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expenditure of time and money disputing and trying to correct the inaccurate credit

reporting; and emotional distress including the mental and emotional pain, anguish,

humiliation, and embarrassment of credit denials.

      95.    Defendant Department Stores National Banks’ conduct, action, and

inaction was willful, rendering it liable for actual or statutory damages, and punitive

damages in an amount to be determined by the Court pursuant to 15 U.S.C. § 1681n.

In the alternative, it was negligent, entitling Plaintiff to recover under 15 U.S.C. §

1681o.

      96.    Plaintiff is entitled to recover attorney’s fees and costs from Defendant

Department Stores National Banks in an amount to be determined by the Court

pursuant to 15 U.S.C. § 1681n and/or § 1681o.



                             PRAYER FOR RELIEF

      WHEREFORE, Plaintiff prays for relief as follows:

      a)     Determining that each Defendant negligently and/or willfully violated

             the FCRA; and

      b)     Granting further relief, in law or equity, as this Court may deem

             appropriate and just.




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                       DEMAND FOR JURY TRIAL

     97.   Plaintiff demands a trial by jury.



Dated:     7/24/2023                 JOSEPH P. MCCLELLAND, LLC


                                     /s/ Joseph P. McClelland
                                     Joseph P. McClelland
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